                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )      No. 3:09-cr-00240-2
v.                                                 )
                                                   )      Judge Nixon
FAITH READUS                                       )

                                           ORDER

       Pending before the Court is Defendant Faith Readus’s Motion to Join Previously Filed

Motions (“Motion to Join”). (Doc. No. 1588.) Specifically, Ms. Readus requests to join

Defendant Paul McQuiddy’s Motion for Additional Peremptory Challenges and the Right to

Exercise Those Challenges Independently After Consultation and Memorandum in Support

(Doc. Nos. 415–16), Motion for Daily Trial Transcript and Memorandum in Support (Doc. Nos.

423–24), and Motion for Equal Access to Exhibits and Memorandum in Support (Doc. Nos.

425–26); Defendant Monterius Pollard’s Motion for Jury-out Enright Hearing on Admissibility

of Alleged Co-conspirator Statements and Memorandum in Support (Doc. Nos. 656–57);

Defendant Thomas Branum’s Motion for Early Disclosure of Jencks Act Material and Disclosure

of Government’s Witness List and List of Exhibits (Doc. No. 969), Motion for Pretrial

Designation of All Phone Calls that the Government Intends to be Used in Their Case-In-Chief

(Doc. No. 970), Motion to Reveal Agreements and Unseal Plea Agreement(s) (Doc. No. 971);

Defendant James Campbell’s Motion for Disclosure of Intent to Use Evidence (Doc. No. 1128),

Motion in Limine #1: Co-defendants’ Statements/Confessions (Doc. No. 1177), Motion in

Limine #2: Request for Disclosure of 404(b) Evidence (Doc. No. 1178), Motion in Limine #3:

Government to Reveal Statements it Intends to Use as Co-Conspirator Statements (Doc. No.

1179), Motion in Limine #4: Government Agents to Retain Rough Notes (Doc. No. 1180),

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Motion in Limine #6: Compel the Government to Disclose Material Witnesses (Doc. No. 1182),

Motion in Limine #7: Disclosure of Grand Jury Testimony (Doc. No. 1183); Defendant

Christopher Moody’s Motion to Determine the Existence of a Conspiracy (Doc. No. 1546) and

Motion to Exclude Non-testifying Co-conspirator Statements (Doc. No. 1548); and Defendant

Patrick Scott’s Motion to Exclude any Testimony Regarding Gang Affiliation and Associated

Aliases or Nicknames (Doc. No. 1554).

       The arguments made by Mssrs. McQuiddy, Pollard, Branum, Campbell, Moody, and

Scott in their motions apply equally to Ms. Readus. Accordingly, the Court GRANTS the

Motion to Join with respect to the above-named motions. (Doc. Nos. 415–16; 423–26; 656–57;

969–71; 1128; 1177–80; 1182–83; 1546; 1548; 1554.)

       It is so ORDERED.

       Entered this the __7th__ day of January, 2013.



                                                   ________________________________
                                                   JOHN T. NIXON, SENIOR JUDGE
                                                   UNITED STATES DISTRICT COURT




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